         Case 1:23-cv-06418-JGLC          Document 78       Filed 12/08/23      Page 1 of 8




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 JANE DOE,                                                      Case No. 1:23-cv-06418-JGLC
                         Plaintiff,

                 v.

 LEON BLACK,

                         Defendant.


                                 DECLARATION OF SUSAN ESTRICH

         I, Susan Estrich, do hereby declare under penalty of perjury that the following is true and

correct:

                1.      I am the founding partner of the law firm of Estrich Goldin LLP, attorneys

for Defendant, and I am admitted pro hac vice in this case. I submit this declaration in support of

Defendant Leon Black’s Memorandum of Law in Support of his Motion to Stay Discovery. I am

fully familiar with all matters set forth in this Declaration based on personal knowledge about the

facts and matters below.

                2.      Plaintiff noticed depositions for Defendant and non-party Melanie Spinella,

on November 14 and 28 respectively.

                3.      On October 26, 2023, I met and conferred telephonically with Jeanne

Christensen and Meredith Firetog, counsel for Plaintiff, for approximately 15 minutes regarding

discovery issues and Defendant’s request to stay discovery pending the resolution of his Motion

to Dismiss. The parties are at impasse and respectfully request resolution of this dispute by the

Court.




                                                  1
        Case 1:23-cv-06418-JGLC          Document 78        Filed 12/08/23      Page 2 of 8




               4.      After the filing of Ms. Doe’s complaint on July 25, 2023, Defendant hired

professional, seasoned investigators to conduct a review into Plaintiff’s allegations.          This

investigation revealed certain of Plaintiff’s posts and communications on social media.

               5.      Plaintiff deleted her Twitter account a few months prior to filing this action

                                                                            .

               6.      Defendant is in possession of direct messages between Plaintiff and third

parties who have asked to remain anonymous, we suspect for fear of retaliation.

    I. Contradictory Evidence to Filings

               7.




               8.      This praise and these fond memories are consistent with the information

that “Elizabeth” provided Defendant’s investigators during her interview.

               9.      Contradictory evidence has also surfaced regarding the declaration

Plaintiff’s counsel submitted in support of the motion to proceed anonymously. ECF Doc. No. 7.

This declaration tells the tale of a “large white Suburban: that parked outside Ms. Doe’s residence”

and remained “just feet from the family’s driveway,” including a picture of the vehicle. Id. ¶¶5-6

& Ex. 1. In Plaintiff’s memorandum in support of the motion, Ms. Christensen explained that one

example of the ways that Defendant was “harass[ing] and intimidate[ing]” the Plaintiff was by

parking this “large white Suburban . . . just inches from the family’s driveway.” ECF Doc. No. 8

at 1.



                                                 2
      Case 1:23-cv-06418-JGLC          Document 78        Filed 12/08/23      Page 3 of 8




              10.




   II. Claims of Various Medical Conditions

              11.     Ms. Doe has claimed that she suffers from various medical conditions, many

of which are quite serious and extremely rare. In addition to the Mosaic Down Syndrome and

autism alleged in the Complaint,




              12.     Although we currently do not have access to Plaintiff’s medical records,




              13.     Plaintiff’s family was unaware of any of these conditions; and they said her

claims to have autism and Mosaic Down Syndrome—and displaying characteristic behavioral




                                               3
       Case 1:23-cv-06418-JGLC            Document 78     Filed 12/08/23      Page 4 of 8




symptoms for the first time—followed third parties receiving sympathy, support, and attentions

when discussing those conditions.

               14.                                                            stated that Plaintiff

only began displaying such behaviors in her twenties, and did so intentionally in order to present

herself as a person with autism.

   III. Claims of            Heritage

               15.     Ms. Doe has at various times asserted contradictory or plainly false claims

regarding her origin story, specifically that:




               16.




               17.




                                                 4
      Case 1:23-cv-06418-JGLC          Document 78        Filed 12/08/23     Page 5 of 8




                18.   When another person posted on Twitter that

       Ms. Doe responded that




                19.   She repeated versions of this claim multiple times over the next     days:




                20.   In a thread in which she claimed to have received anti-Semitic messages on

social media,




                21.




                                                                       .
                                               5
       Case 1:23-cv-06418-JGLC           Document 78       Filed 12/08/23      Page 6 of 8




               22.



   IV. Repeated Public Disclosures of Ms. Doe’s Alleged Abuse from Epstein

               23.     Based on my review of Ms. Doe’s Twitter posts, Twitter Spaces

conversations, and correspondence on social media, in the last 16 months, Ms. Doe has repeatedly

publicly identified herself as an Epstein survivor, explained that she was trafficked by Epstein for

two years as a child, used the hashtags                                        and connected with

various Twitter users with larger followings who relayed her tweets detailing her alleged abuse to

their followings.

               24.




               25.     It appears that Ms. Doe deleted her account in or around




               26.                                                       , Ms. Doe tweeted,




               27.




                                                 6
       Case 1:23-cv-06418-JGLC           Document 78         Filed 12/08/23     Page 7 of 8




               28.     On                    while discussing the Supreme Court’s decision to

overturn Roe v. Wade, Ms. Doe tweeted that



                                                        .”



               29.                          Ms. Doe tweeted that




               30.     In addition,




               31.     Twitter users                                          have told Defendant’s

investigators that Plaintiff often spoke about her trafficking and abuse

               32.




               33.




                                                 7
     Case 1:23-cv-06418-JGLC           Document 78         Filed 12/08/23         Page 8 of 8




             34.



             35.




      I affirm under penalty of perjury that the foregoing is true and correct.

Dated: New York, New York
       December 8, 2023
                                                    /s/ Susan Estrich
                                                    Susan Estrich




                                                8
